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 1   Tim Warriner (SB#166128)
     Attorney at Law
 2   813 6th St., Suite 450
     Sacramento, CA 95814
 3   (916) 443-7141
     FAX: (916) 441-0970
 4
     Attorney for Defendant
 5   TERESA MARIA MORALES
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                No. CR S 07 00314 FCD
10                                       )
                 Plaintiff,              )                STIPULATION AND ORDER
11                                       )                CONTINUING STATUS CONFERENCE
           v.                            )                AND EXCLUDING TIME
12                                       )
     TERESA MARIA MORALES,               )
13   ENRIQUE MORALES,                    )
     JOSE LUIS MORALES,                  )
14   JUAN MORALES, and PETRA             )
     PRECIADO MORALES,                   )
15                                       )
                 Defendants.             )
16   ____________________________________)
17   The parties hereby stipulate to the following:
18      1.      A status conference in this matter is now scheduled for April 28, 2008 at 10:00 a.m.
19      2.      This case involves an alleged complex scheme to defraud the Unemployment
20              Insurance System. At this point, approximately 1,000 pages of discovery have been
21              produced not including video tape/DVD evidence, which the parties must review to
22              prepare for trial. The parties continue to review the discovery and conduct
23              investigation necessary to prepare for trial as well as pretrial motions. Additionally,
24              attorney Miguel A. Hernandez was recently involved in an automobile accident and,
25              while recovering, is unable to appear in court on April 28. In light of the need for
26              attorney preparation, a continuance of the status conference until June 2, 2008 is
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 1              requested.
 2      3.      It is stipulated by the parties that time continue to be excluded to June 2, 2008 for
 3              preparation of counsel pursuant to local code T4. 18 U.S.C. 3161(h)(8)(B)(iv).
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 5
 6
        DATED: April 24, 2008              /s/ Tim Warriner
 7                                         Attorney for defendant, TERESA MARIA MORALES
 8
        DATED: April 24, 2008              /s/ Bruce Locke
 9                                         Attorney for defendant, ENRIQUE MORALES
10
        DATED: April 24, 2008              /s/ Miguel A. Hernandez
11                                         Attorney for defendant, JOSE LUIS MORALES
12
        DATED: April 24, 2008              /s/ Clarence Emmett Mahle
13                                         Attorney for defendant, JUAN MORALES
14
        DATED: April 24, 2008              /s/ Donald P. Dorfman
15                                         Attorney for defendant, PETRA PRECIADO MORALES
16
        DATED: April 24, 2008              /s/ Matthew Stegman
17                                         Assistant U.S. Attorney
18
                                                ORDER
19
             GOOD CAUSE APPEARING, it is hereby ordered that the status conference set for
20
     April 28, 2008 be continued to June 2, 2008 at 10:00 a.m., and that time continue to be excluded
21
     to June 2, 2008 for preparation of counsel pursuant to Local Code T4, 18 U.S.C.
22
     3161(h)(8)(B)(iv).
23
             IT IS SO ORDERED.
24
     DATED: April 24, 2008
25
                                                _______________________________________
26                                              FRANK C. DAMRELL, JR.
                                                UNITED STATES DISTRICT JUDGE
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28                                                    2
